EXHIBIT 9
FILED: NEW YORK COUNTY CLERK 03/11/2021 12:30 PM                                             INDEX NO. 651947/2016
NYSCEF DOC. NO. 126 Case 1:21-cv-02115 Document 1 Filed 03/11/21 PageRECEIVED
                                                                      1 of 9 NYSCEF: 03/11/2021




         UNITED STATES DISTRICT COURT
         SOUTHERN DISTRICT OF NEW YORK
                                                              x
                                                              :
         MEI KUM CHU, SAU KING CHUNG, and QUN
                                                              :
         XIANG LING, individually and on behalf of all others
                                                              :
         similarly situated,                                               Civil Action No.: 21-2115
                                                              :
                                                              :
                                          Plaintiffs,
                                                              :
                                                                           NOTICE OF REMOVAL
                                                              :
                             - against -
                                                              :
                                                              :
         CHINESE-AMERICAN PLANNING COUNCIL HOME
                                                              :
         ATTENDANT PROGRAM, INC.,
                                                              :
                                                              :
                                          Defendant.
                                                              x



                TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK:

                1.      Defendant, Chinese-American Planning Council Home Attendant Program, Inc.

         (hereinafter “CPC” or “Defendant”) is party in the civil matter brought by Plaintiffs Mei Kum

         Chu, Sau King Chung, and Qun Xiang Ling (“Plaintiffs” or “Chu Plaintiffs”), individually and

         on behalf of others, in the Supreme Court of the State of New York, New York County.

         Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendant respectfully seeks removal of this

         matter to the United States District Court for the Southern District of New York, which is the

         judicial district where the matter is pending, and alleges as follows:

                2.      Plaintiffs are former home care aide employees of Defendant. On or about April

         12, 2016, Plaintiffs commenced a civil matter, individually and on behalf of a putative class, in

         the New York State Supreme Court, New York County. A true and correct copy of Plaintiffs’

         2016 Summons and Complaint is attached hereto as Exhibit A. The Clerk assigned the matter

         Index No. 651947/2016 (hereinafter referred to as the “Chu Matter”).
FILED: NEW YORK COUNTY CLERK 03/11/2021 12:30 PM                                              INDEX NO. 651947/2016
NYSCEF DOC. NO. 126 Case 1:21-cv-02115 Document 1 Filed 03/11/21 PageRECEIVED
                                                                      2 of 9 NYSCEF: 03/11/2021




                3.      In the Chu Matter, Plaintiffs allege, individually and on behalf of a putative class

         of individuals, that they were not paid the required minimum wage, overtime wages, and a

         “spread-of hours” premium, in violation of the New York Labor Law and New York Home Care

         Worker Wage Parity Act (“Wage Parity Act”). Ex. A ¶¶ 5, 32-37, 42-44, 49-51, 56-61, 68-86,

         89-98. Plaintiffs also allege that they failed to receive pay statements that complied with the

         New York Labor Law. Id. ¶ 5, 87, 88.

                4.      Since before 2012, Defendant has been a party to a collective bargaining

         agreement (the “CBA”) with 1199SEIU United Healthcare Workers East (the “Union”), as

         amended by memoranda of agreement (“MOA”). A true and correct copy of the CBA is attached

         hereto as Exhibit B. The CBA sets forth a multi-step dispute resolution procedure that

         employees must follow to raise complaints against Defendant, which culminates in “final and

         binding arbitration under the Rules of the American Arbitration Association [‘AAA’].” Ex. B at

         25-26. Rule 3(a) of the AAA Rules is a delegation of procedural issues to the Arbitrator and

         provides that “[t]he arbitrator shall have the power to rule on his or her own jurisdiction,

         including any objections with respect to the existence, scope, or validity of the arbitration

         agreement.” AAA Labor Arbitration Rule 3(a).

                5.      On December 7, 2015, Defendant entered into a memorandum of agreement (the

         “2015 MOA”) with the Union, which supplemented the CBA’s existing alternative dispute

         resolution provision and explicitly required that “all claims brought by either the Union or

         Employees, asserting violations of or arising under the Fair Labor Standards Act (‘FLSA’), New

         York Home Care Worker Wage Parity Law, or New York Labor Law (collectively, the ‘Covered

         Statutes’), in any manner, shall be subject exclusively to the grievance and arbitration procedures

         described in this Article.” A true and correct copy of the 2015 MOA is attached hereto as



                                                         2
FILED: NEW YORK COUNTY CLERK 03/11/2021 12:30 PM                                           INDEX NO. 651947/2016
NYSCEF DOC. NO. 126 Case 1:21-cv-02115 Document 1 Filed 03/11/21 PageRECEIVED
                                                                      3 of 9 NYSCEF: 03/11/2021




         Exhibit C.

                6.      In March 2015, before the Chu Matter was filed and also before the 2015 MOA,

         three different employees of Defendant on behalf of themselves and other CPC home attendants,

         including the Chu Plaintiffs, filed a lawsuit against Defendant in New York Supreme Court—

         Chan, et al. v. Chinese-American Planning Council Home Attendant Program, Inc., Index No.

         650737/2015—alleging claims under the Covered Statutes (the “Chan Matter”), similar to those

         alleged in the Chu Matter. On November 9, 2015, the Chan plaintiffs amended their complaint to

         add an FLSA claim, which prompted Defendant to remove the matter to federal court on

         December 8, 2015 – one day after the date the 2015 MOA was executed. Accordingly, on

         December 15, 2015, Defendant moved to compel the Chan Matter to arbitration, pursuant to the

         2015 MOA. The District Court granted the motion to compel on February 3, 2016, holding that

         the 2015 MOA applies retroactively to claims that accrued prior to its execution. Accordingly,

         the Chan Matter, which includes employees who left Defendant’s employ before the 2015 MOA,

         was stayed in its entirety, pending arbitration. Chan v. Chinese-Am. Plan. Council Home

         Attendant Program, Inc., No. 15-9605 (S.D.N.Y. Feb. 3, 2016)(order compelling arbitration and

         staying action pending arbitration).

                7.      On May 13, 2016, shortly after the Chu Matter was filed, Defendant sought to

         remove it on the grounds that the Chu Plaintiffs and all putative class members, who were

         compelled in the Chan Matter to arbitration, were subject to the provisions of the CBA, which

         expressly set forth the terms of their compensation, as well as the fact that the Chu Plaintiffs

         failed to exhaust the CBA’s mandatory grievance and arbitration procedure. Judge Katherine B.

         Forrest of the Southern District of New York ultimately remanded to state court—Chu v.

         Chinese-American Planning Council Home Attendant Program, Inc., 194 F. Supp. 3d. 221, 228



                                                        3
FILED: NEW YORK COUNTY CLERK 03/11/2021 12:30 PM                                                INDEX NO. 651947/2016
NYSCEF DOC. NO. 126 Case 1:21-cv-02115 Document 1 Filed 03/11/21 PageRECEIVED
                                                                      4 of 9 NYSCEF: 03/11/2021




         (S.D.N.Y. 2016)—holding that this Court lacked subject matter jurisdiction because, inter alia, a

         CBA that compels arbitration does not itself create a valid basis for federal jurisdiction and even

         if it did, the Court need not “seriously interpret” the MOA if it did not, on its face, create a clear

         waiver of rights to bring a claim in court.

                8.      On September 26, 2016, Defendant moved to stay the Chu Matter pending the

         resolution of the Chan Matter. The basis for this motion was that the putative class in the Chu

         Matter overlapped almost completely with the putative class in the Chan Matter. The New York

         Supreme Court Justice Carol Edmead granted Defendant’s motion to stay the Chu Matter on

         April 17, 2017 in the “interest of ‘comity, orderly procedure and judicial economy’” because

         waiting for the Chan Matter to be resolved in arbitration would “avoid duplication of effort and

         waste of judicial resources.”

                9.      The Chu Matter remained stayed until March 12, 2019, when, following a

         conference with the Court, Justice Edmead sua sponte dismissed this action without prejudice.

                10.     On January 2, 2019, shortly before the Chu Matter was dismissed, the Union,

         which serves as the sole and exclusive representative for home care aide employees of Defendant,

         commenced an industry-wide grievance-arbitration pursuant to the CBA and 2015 MOA

         (hereinafter “Union Matter”) on behalf of its home care industry members, concerning alleged

         violations of the Covered Statutes by Defendant and other home care agencies, which are

         precisely the same claims in the Chu Matter.

                11.     The members covered by the Union’s grievance in the Union Matter include the

         Chu named plaintiffs and the putative class.

                12.     On April 17, 2020, while Chu remained dismissed, the Arbitrator in the Union

         Matter issued an arbitration award finding that, pursuant to the CBA and 2015 MOA, (1) the



                                                           4
FILED: NEW YORK COUNTY CLERK 03/11/2021 12:30 PM                                             INDEX NO. 651947/2016
NYSCEF DOC. NO. 126 Case 1:21-cv-02115 Document 1 Filed 03/11/21 PageRECEIVED
                                                                      5 of 9 NYSCEF: 03/11/2021




         Union’s wage and hour grievances on behalf of all current or former Union bargaining unit

         members, including the Chu Plaintiffs, are arbitrable and (2) he had jurisdiction to adjudicate

         them (the “Award”). A true and correct copy of the Award is attached hereto as Exhibit D.

                13.      On May 8, 2020, the Union filed a petition to confirm the Award, which was

         assigned to this Court and given civil action number 20-cv-03611 (the “Confirmation

         Proceeding”).

                14.      On February 18, 2021, this Court granted the Union’s petition and confirmed the

         Award. In the accompanying opinion, the Court affirmed that the Arbitrator has jurisdiction over

         the wage and hour claims, irrespective of Plaintiffs’ allegations that the Arbitrator exceeded his

         authority by asserting jurisdiction over employees who were no longer employed at the time the

         2015 MOA took effect (the “Confirmation Order”). A true and correct copy of the Southern

         District of New York’s Confirmation Order is attached hereto as Exhibit E. In the Confirmation

         Order, this Court clarified:

                “… the CBA required that grievances be arbitrated ... The subsequent 2015 MOA
                clarified that grievances relating to “Covered Statutes” must be arbitrated ... Thus, under
                both agreements there is plainly an agreement to arbitrate. Second, under the CBA,
                arbitrations occur pursuant to AAA Rules, including AAA Rule 3(a), which delegates
                questions of jurisdiction and “arbitrability” to the Arbitrator. Therefore, the Respondents
                and the Union (on behalf of its employees) agreed to arbitrate and to delegate questions
                of arbitrability and jurisdiction to the Arbitrator.”

         Ex. E at 28-29.

                15.      The Court explained that the Chu Plaintiffs’ arguments concerning pre-MOA

         employees “confuse the question of consent to arbitration (namely, did parties consent to

         arbitrate) with the question of arbitrability (namely, whether the dispute at issue is within the

         scope of the arbitration agreement).” Ex. E at 29. Therefore:

                “given the absence of temporal limitations in the CBA or the 2015 MOA, with the
                appropriate highly deferential review, this Court cannot say that the Arbitrator’s finding

                                                         5
FILED: NEW YORK COUNTY CLERK 03/11/2021 12:30 PM                                              INDEX NO. 651947/2016
NYSCEF DOC. NO. 126 Case 1:21-cv-02115 Document 1 Filed 03/11/21 PageRECEIVED
                                                                      6 of 9 NYSCEF: 03/11/2021




                that claims based on violations of the Covered Statutes that occurred prior to the 2015
                MOA’s effective date were arbitrable either failed to draw its essence from the CBA or
                was outside the scope of his authority.”

         Ex. E at 32.

                16.     On August 6, 2020, Plaintiffs filed a motion to reargue Justice Edmead’s decision

         not to restore the Chu Matter. Justice Edmead granted Plaintiffs’ motion to reargue on February

         9, 2021 and, for the first time in two years, restored the case to active status (hereinafter the

         “February 9 Order”). In that same February 9 Order, Justice Edmead directed the Plaintiffs to

         file an amended complaint, but did not lift the stay.

                17.     Plaintiffs filed an amended complaint on February 15, 2021 (the “Amended

         Complaint”). A true and correct copy of Plaintiffs’ Amended Complaint is attached hereto as

         Exhibit F. The Amended Complaint is an ineffective attempt to differentiate the Chu putative

         class from the Chan class to evade arbitration. However, in order to evaluate the futility of

         Plaintiffs’ Amended Complaint on this action, this Court must unavoidably evaluate the CBA to

         determine the arbitrator’s jurisdiction over the narrowed putative class, which it has already ruled

         are covered in the Union Matter.

                18.     Then, on February 24, 2021, the Chu Plaintiffs filed a motion to vacate the stay.

         In their supporting memorandum of law, the Chu Plaintiffs attempt to substitute their own

         interpretation of the CBA and 2015 MOA for that of the Arbitrator and this Court—a challenge

         to the scope of the Arbitrator’s authority that cannot be resolved without interpretation of the

         CBA and 2015 MOA and which directly relates to rights created thereby (the “Motion to

         Vacate”). A true and correct copy of Plaintiffs’ Motion to Vacate is attached hereto as Exhibit

         G.

                19.     The Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b)(3) because it is



                                                          6
FILED: NEW YORK COUNTY CLERK 03/11/2021 12:30 PM                                                INDEX NO. 651947/2016
NYSCEF DOC. NO. 126 Case 1:21-cv-02115 Document 1 Filed 03/11/21 PageRECEIVED
                                                                      7 of 9 NYSCEF: 03/11/2021




         filed with this Court within thirty (30) days of the receipt by Defendant of the New York

         Supreme Court’s February 9 Order restoring the Chu Matter to active status for the first time in

         two years, the Amended Complaint, and the Motion to Vacate.

                20.     Removal is appropriate under 28 U.S.C. §§ 1441 because all of Plaintiffs’ claims

         are completely preempted by federal law, Section 301 of the Labor Management Relations Act

         (“LMRA”), 29 U.S.C. § 185, which grants federal question subject matter jurisdiction over

         matters that relate to rights created by the CBA or are substantially dependent on the

         interpretation of the CBA. Thus, this is a civil matter in which the District Courts of the United

         States has been given original jurisdiction, in that it arises under the laws of the United States

         within the meaning of 28 U.S.C. § 1331.

                21.     In their Motion to Vacate, the Chu Plaintiffs acknowledge the existence of the

         Arbitrator’s Award and this Court’s Confirmation Order. The Chu Plaintiffs highlight that the

         Award “determin[ed], upon the Union’s petition, that [the Arbitrator] is authorized to adjudicate

         the pre-MOA employees’ claims.” Ex. G at 5. Nevertheless, in blatant disregard of the Award

         and Confirmation Order, the Chu Plaintiffs assert that the Arbitrator cannot resolve pre-MOA

         employees’ claims, and “Plaintiffs may therefore proceed with this action no matter what the

         arbitrator decides in the separate action asserted by the Union.” Ex. G at 5. In addressing the

         applicability of the same Award, this Court recently found in Guzman v. First Chinese

         Presbyterian Cmty. Affs. Home Attendant Corp., No. 20-CV-3929 (JGK), 2021 WL 632493, at

         *5 (S.D.N.Y. Feb. 18, 2021) that where parties file an order to show cause seeking to vacate

         portions of a federal labor arbitration Award and to stay a federal arbitration, interpretation of the

         CBA is required. Id. at *7. This Court further stated:

                “The [p]laintiffs allege that the Arbitrator exceeded his authority, because their state law
                claims are not covered by the grievance procedures in the CBA and the MOA's

                                                           7
FILED: NEW YORK COUNTY CLERK 03/11/2021 12:30 PM                                              INDEX NO. 651947/2016
NYSCEF DOC. NO. 126 Case 1:21-cv-02115 Document 1 Filed 03/11/21 PageRECEIVED
                                                                      8 of 9 NYSCEF: 03/11/2021




                amendments to the CBA do not apply to them. Therefore, their effort to vacate the Award
                and stay arbitration depends on the interpretation of the scope and coverage of the CBA
                and the MOA. The resolution of the Plaintiffs’ claims thus turn on the “rights created by”
                the CBA and “are substantially dependent on the analysis of” the CBA and MOA's
                grievance and arbitration provisions. See Caterpillar, 482 U.S. at 394-95, 107 S.Ct. 2425.
                Accordingly, this Court has jurisdiction over the action pursuant to Section 301, and the
                Plaintiffs cannot escape that jurisdiction by packaging their objective of vacating a
                federal labor arbitral award as a state court motion, pursuant to N.Y. C.P.L.R. §
                7511. See Alameda Room, 538 F. Supp. at 1075. By seeking to vacate the Award on the
                grounds that the Arbitrator exceeded his authority, the Plaintiffs have made the
                interpretation of the CBA and the MOA key issues in dispute, and thus removal us
                proper.”


         Id. at *5. The Chu Plaintiffs similarly challenge and attempt to, albeit implicitly, vacate the

         Arbitrator’s Award and authority over their claims, based on their interpretation of the scope and

         coverage of the CBA and 2015 MOA. Any determination regarding whether pre-MOA plaintiffs

         are bound by the decisions of the Arbitrator, substantially implicates the CBA and MOA, which

         is the source of the Arbitrator’s authority. Therefore, Section 301(a) of the LMRA, which grants

         federal question subject matter jurisdiction over matters that relate to rights created by the CBA

         or are substantially dependent on the interpretation of the CBA, is applicable and preempts the

         Chu Matter.

                22.     The very purpose of Section 301 preemption is to “ensure uniform interpretation

         of collective-bargaining agreements.” Whitehurst v. 1199SEIU United Healthcare Workers E.,

         928 F.3d 201, 206 (2d Cir. 2019). To not remove this case, and permit pre-MOA employees to

         opt out of the CBA’s mandatory grievance procedures, frustrates the intent of Section 301, as it

         would implicitly result in inconsistent interpretations of the scope and application of the CBA

         and 2015 MOA.

                23.     Pursuant to the provisions of 28 U.S.C. § 1446(a), Defendant attaches to this

         notice and incorporates by reference all of the process, pleadings, and orders served on it prior to



                                                          8
FILED: NEW YORK COUNTY CLERK 03/11/2021 12:30 PM                                              INDEX NO. 651947/2016
NYSCEF DOC. NO. 126 Case 1:21-cv-02115 Document 1 Filed 03/11/21 PageRECEIVED
                                                                      9 of 9 NYSCEF: 03/11/2021




         its removal of this matter including the following: See Ex. A; Ex. B; Ex. C; Ex. D; Ex. E; Ex. F;

         Ex. G; Ex. H.

                24.      Written notice of the filing of this Notice of Removal is being given to Plaintiffs,

         pursuant to 28 U.S.C. § 1446(d).

                25.      A copy of this Notice of Removal and supporting papers are being filed with the

         Supreme Court of the State of New York, County of New York, pursuant to 28 U.S.C. § 1446(d).

                26.      Defendant does not waive any objections it may have to service, jurisdiction, or

         venue, and any other defenses or objections to this matter.

                WHEREFORE, Defendant Chinese-American Planning Council Home Attendant

         Program, Inc. respectfully requests that the Chu Matter be removed to this Court.


         Dated: New York, New York
                March 11, 2021
                                                               Respectfully submitted,

                                                               HOGAN LOVELLS US LLP




                                                               By: _____________________________
                                                                    Kenneth Kirschner
                                                                    kenneth.kirschner@hoganlovells.com
                                                                    David Baron
                                                                    david.baron@hoganlovells.com
                                                                    390 Madison Avenue
                                                                    New York, New York 10017
                                                                    Tel: (212) 918-3000
                                                                    Fax: (212) 918-3100
                                                                    Attorneys for Defendant




                                                          9
